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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



    STATE OF FLORIDA,

         Plaintiff,

    v.                                            CASE NO. 8:21-cv-2524-SDM-TGW

    BILL NELSON, et al.,

          Defendants.
    ___________________________________/


                                         ORDER

         The parties’ joint motion (Doc. 42) to stay this action pending appeal is

    GRANTED. This action (but not the preliminary injunction) is STAYED.

         ORDERED in Tampa, Florida, on January 19, 2022.
